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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


REDI-DATA, INC.,                                 Case No. 2:20-CV-17484-JMV-JBC

                      Plaintiff,
                                                 DEFENDANT THE
          -against-                              SPAMHAUS PROJECT SLU’S
                                                 CORPORATE DISCLOSURE
THE SPAMHAUS PROJECT a/k/a THE                   STATEMENT
SPAMHAUS PROJECT LTD.,

                      Defendant.                Document Electronically Filed




      Pursuant to Federal Rule of Civil Procedure 7.1, Defendant The Spamhaus

Project S.L.U., by and through undersigned counsel, hereby states that it does not

have a parent corporation and that there is no publicly held corporation that owns

10% or more of its membership interests.
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Dated:   December 23, 2021         Respectfully submitted,

                                   MORRISON COHEN LLP

                                   By:   /s/ Alvin C. Lin
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